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                         UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF ILLINOIS
                             EASTERN DIVISION


 MPH TECHNOLOGIES OY,                        )
                                             )
                         Plaintiff,          )   Civil Action No. 1:24-cv-8221
      v.                                     )
                                             )   [Case No. 3:18-cv-05935-TLT, MPH
                                             )   Technologies Oy v. Apple Inc., pending in
 APPLE INC.,                                 )   the U.S. District Court for the Northern
                                             )   District of California]
                         Defendant.          )
                                             )
                                             )


              APPLE INC.’S MOTION FOR LEAVE TO FILE UNDER SEAL
                   PORTIONS OF APPLE’S MOTION TO COMPEL
             LEE SHEIKH & HAAN LLC’S COMPLIANCE WITH SUBPOENA




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        Pursuant to Local Rules 5.8 and 26.2, and pursuant to the protective order entered by the court

in MPH Technologies Oy v. Apple Inc., Case No. 3:18-cv-05935-TLT (N.D. Cal.) (“Litigation”) on

July 10, 2023 (Dkt. No. 90), Defendant Apple Inc., by and through its undersigned counsel, moves

this Court for an Order permitting the filing under seal of portions of Apple’s Motion to Compel Lee

Sheikh & Haan LLC’s Compliance With Subpoena (“Motion”) and supporting exhibits.

        Apple’s Motion describes, quotes, or otherwise reveals content designated by MPH

Technologies (“MPH”), the plaintiff in the Litigation, as “Confidential – Attorneys’ Eyes Only”

under the terms of the Protective Order entered in the Litigation. (See Case No. 3:18-cv-05935-TLT,

Dkt. No. 90.) Furthermore, MPH designated Exhibits 2, 10-16 to the supporting Declaration of Soo

J. Park as “Confidential – Attorneys’ Eyes Only.” Although Apple does not agree that all these

documents and information qualify as Confidential under the terms of the Protective Order, Apple is

obligated by the Protective Order to request that the documents and information be filed under seal.

(Id. at ¶ 15.)

        As required by the Protective Order and Local Rule 26.2, Apple has provisionally filed under

seal Apple’s Motion that references such “Confidential” materials and supporting exhibits that

constitute such “Confidential” materials. Apple is simultaneously filing a redacted version of its

Motion.

        WHEREFORE, Apple hereby moves this Court for leave to file under seal portions of

Apple’s Motion and Exhibits 2, 10-16 to the supporting Declaration of Soo J. Park.




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 Dated: September 9, 2024               By: /s/ Purvi G. Patel

                                            PURVI G. PATEL (ARDC # 6287065)
                                            MORRISON & FOERSTER LLP
                                            707 Wilshire Boulevard, Suite 6000
                                            Los Angeles, California 90017
                                            Los Angeles, California 90017-3543
                                            Telephone: (213) 892-5200
                                            ppatel@mofo.com

                                                BITA RAHEBI
                                                RYAN J. MALLOY
                                                ROSE S. LEE
                                                SOO J. PARK
                                                NIMA KIAEI
                                                MORRISON & FOERSTER LLP
                                                707 Wilshire Boulevard
                                                Los Angeles, California 90017-3543
                                                Telephone: (213) 892-5200
                                                Facsimile: (213) 892-5454
                                                brahebi@mofo.com
                                                rmalloy@mofo.com
                                                roselee@mofo.com
                                                spark@mofo.com
                                                nkiaei@mofo.com

                                                RICHARD S.J. HUNG
                                                MORRISON & FOERSTER LLP
                                                425 Market Street
                                                San Francisco, California 94105
                                                Telephone: (415) 268-7000
                                                Facsimile: (415) 268-7522
                                                rhung@mofo.com

                                             Attorneys for Defendant
                                             APPLE INC.




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